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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division


  KIERAN RAVI BHATTACHARYA,                      )
                                                 )
                   Plaintiff,                    )
                                                 )
  v.                                             ) Civil Action No. 3:19-CV-54-NKM-JCH
                                                 )
                                                 )
  JAMES B. MURRAY, JR., et al.,                  )
                                                 )
                   Defendants.                   )
                                                 )


                DEFENDANTS’ MOTION TO FILE UNDER SEAL
       MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT AND
                        ACCOMPANYING EXHIBITS

           Defendants (except for Dr. Sara Rasmussen), 1 by and through their undersigned counsel,

  hereby move the Court to file their Memorandum in Support of their Motion for Summary

  Judgment (“Memorandum in Support”), and the accompanying Exhibits under seal pursuant to

  Local Rule 9 and the Stipulated Protective Order (ECF No. 150).

           1. The Memorandum in Support and Exhibits contain discussion of and reference to

               Plaintiff’s sensitive health information protected by the Stipulated Protective Order

               (ECF No. 150) in this case. The discussion of Plaintiff’s health information is necessary

               to explain Defendants’ positions regarding their Memorandum in Support.




  1
      All references in this Motion are to all Defendants except for Dr. Sara Rasmussen.
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         2.   The Memorandum in Support and Exhibits also reference or include the education

              records of Plaintiff as well as other students, which are subject to the Family

              Educational Rights and Privacy Act, 20 U.S.C. § 1232g, 34 C.F.R. pt. 99.

         3. In accordance with the Stipulated Protective Order (ECF No. 150), Defendants would

              like to honor the designation of records referenced and information discussed in the

              Defendants’ Memorandum in Support and Exhibits containing highly sensitive health

              information as well as Plaintiff’s and other students’ education records. Accordingly,

              Defendants move to file their Memorandum in Support and Exhibits under seal.

         For these aforementioned reasons, Defendants respectfully request that the Court grant this

  Motion, enter the Order, included as Exhibit A, and allow Defendants to file the Memorandum in

  Support and Exhibits under seal.

  Dated: June 14, 2022

  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 14, 2022, I electronically filed the foregoing with the Clerk of

  Court using the CM/ECF system and that a notice of electronic filing will be delivered via the

  CM/ECF system to all counsel of record.

                                        /s/ Farnaz F. Thompson
                                        Farnaz F. Thompson
